          Case 1:19-cv-05790-VEC Document 3 Filed 06/28/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
  WASIM G. MANASFI,                    :
                                       :              CASE NO.: 1:19-cv-05790-VEC
                                       :
                Plaintiff,             :
                                       :
      -against-                        :
                                       :
 CONTROL4 CORPORATION, MARTIN :
 PLAEHN, MARK E. JENSEN, PHIL :
 MOLYNEUX, JOHN R. BORN, JAMES T. :
 CAUDILL, JEREMY A. JAECH, DAVID C. :
 HABIGER AND MARIA THOMAS,             :


               Defendants.
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                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses without prejudice the above-titled action. This notice of

dismissal is being filed with the Court before service by Defendants of either an answer or a motion

for summary judgment.

 Dated: June 28, 2019                              Respectfully Submitted,

 OF COUNSEL:                                       MONTEVERDE & ASSOCIATES PC

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